    Case Case WVS/2:13-cv-20211
         2:12-md-02326           Document
                       Document 4186 Filed108/10/17
                                               Filed 08/11/17
                                                      Page 1 of 3Page 1 of #:
                                                                  PageID   2226675




                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                      CHARLESTON DIVISION

IN RE: BOSTON SCIENTIFIC CORPORATION
       PELVIC SUPPORT SYSTEMS
       PRODUCTS LIABILITY LITIGATION

                                                                  MDL 2326
_____________________________________________________________________________

THIS DOCUMENT RELATES TO THE
CASES IN EXHIBIT A ATTACHED HERETO

                                   INACTIVE DOCKET ORDER

          The Court has been advised by counsel that in the case listed on the attached Exhibit A,

the plaintiffs and Boston Scientific Corporation1 ("BSC") have agreed to a settlement model with

regard to BSC. The Court, therefore, finds it unnecessary to conduct further proceedings or to

keep the case on the active docket. Accordingly, the Court ORDERS as follows:

          1.     All discovery deadlines are continued until further order of the Court.

          2.     That the Clerk retire the case listed on the attached Exhibit A from the active

docket.

          3.     Plaintiffs and BSC may submit an agreed order of dismissal with prejudice on or

before November 2, 2017, if settlements are not finalized and dismissal orders are not submitted

on or before November 2, 2017, then the Court will have a hearing to determine the appropriate

action pertaining to any remaining case on the inactive docket.

          Counsel for plaintiffs and defendant(s) are directed to provide quarterly reports as to their

progress in dismissing the case on the inactive docket. The Court is aware that counsel have

agreed to a settlement model for a group of cases and claims, including the case on Exhibit A.
1
    Boston Scientific Corporation includes any incorrect or incomplete spellings of this Defendant,
         including Boston Scientific Corp.


8231457 v1
 Case Case WVS/2:13-cv-20211
      2:12-md-02326           Document
                    Document 4186 Filed108/10/17
                                            Filed 08/11/17
                                                   Page 2 of 3Page 2 of #:
                                                               PageID   2226676




The Court will reinstate any case on the attached Exhibit A to the active docket if one of the

parties, on motion, shows good cause for such reinstatement. Good cause includes, but is not

limited to, a plaintiffs’ refusal or inability to consummate settlement. Such motion must be

accompanied by an affidavit from plaintiffs explaining such refusal or inability.

        The Court DIRECTS the Clerk to file a copy of this order in MDL No. 2326 and in the

individual case listed on the attached Exhibit A. The Clerk further DIRECTED to link this

                                                               4166
Order to the Proposed Inactive Docket Order filed at ECF No. ________, and send a copy of this

Order to counsel of record and any represented party. The Clerk is further DIRECTED to send

a copy of this Order to counsel of record and any unrepresented party.



                                                     ____________________________________
                                                     JOSEPH R. GOODWIN
                                                     UNITED STATES DISTRICT COURT




8231457 v1
 Case Case WVS/2:13-cv-20211
      2:12-md-02326           Document
                    Document 4186 Filed108/10/17
                                            Filed 08/11/17
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                                                               PageID   2226677




                                                EXHIBIT A

                                          FLINT LAW FIRM

   CIVIL                                                   CASE NAME
  ACTION
  NUMBER

   14-cv-09888   CLOUD, Louise and Frank Cloud vs. Boston Scientific Corporation



   16-cv-02694   GREGORY, Betty vs. Boston Scientific Corporation

   14-cv-19138   MCKENDREE, Nancy and Wayne McKendree vs. Boston Scientific Coporation

   14-cv-12605   MUELLER, Terri vs. Boston Scientific Corporation




8231457 v1
    Case Case WVS/2:13-cv-20211
         2:12-md-02326           Document
                       Document 4185 Filed108/10/17
                                               Filed 08/11/17
                                                      Page 1 of 3Page 4 of #:
                                                                  PageID   2226672




                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                      CHARLESTON DIVISION

IN RE: BOSTON SCIENTIFIC CORPORATION
       PELVIC SUPPORT SYSTEMS
       PRODUCTS LIABILITY LITIGATION

                                                                  MDL 2326
_____________________________________________________________________________

THIS DOCUMENT RELATES TO THE
CASES IN EXHIBIT A ATTACHED HERETO

                                   INACTIVE DOCKET ORDER

          The Court has been advised by counsel that in the case listed on the attached Exhibit A,

the plaintiffs and Boston Scientific Corporation1 ("BSC") have agreed to a settlement model with

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keep the case on the active docket. Accordingly, the Court ORDERS as follows:

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docket.

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before November 2, 2017, if settlements are not finalized and dismissal orders are not submitted

on or before November 2, 2017, then the Court will have a hearing to determine the appropriate

action pertaining to any remaining case on the inactive docket.

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progress in dismissing the case on the inactive docket. The Court is aware that counsel have

agreed to a settlement model for a group of cases and claims, including the case on Exhibit A.
1
    Boston Scientific Corporation includes any incorrect or incomplete spellings of this Defendant,
         including Boston Scientific Corp.


8231457 v1
 Case Case WVS/2:13-cv-20211
      2:12-md-02326           Document
                    Document 4185 Filed108/10/17
                                            Filed 08/11/17
                                                   Page 2 of 3Page 5 of #:
                                                               PageID   2226673




The Court will reinstate any case on the attached Exhibit A to the active docket if one of the

parties, on motion, shows good cause for such reinstatement. Good cause includes, but is not

limited to, a plaintiffs’ refusal or inability to consummate settlement. Such motion must be

accompanied by an affidavit from plaintiffs explaining such refusal or inability.

        The Court DIRECTS the Clerk to file a copy of this order in MDL No. 2326 and in the

individual case listed on the attached Exhibit A. The Clerk further DIRECTED to link this

                                                               4165
Order to the Proposed Inactive Docket Order filed at ECF No. ________, and send a copy of this

Order to counsel of record and any represented party. The Clerk is further DIRECTED to send

a copy of this Order to counsel of record and any unrepresented party.



                                                     ____________________________________
                                                     JOSEPH R. GOODWIN
                                                     UNITED STATES DISTRICT COURT




8231457 v1
 Case Case WVS/2:13-cv-20211
      2:12-md-02326           Document
                    Document 4185 Filed108/10/17
                                            Filed 08/11/17
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                                                               PageID   2226674




                                                 EXHIBIT A

                                    CLARK LOVE & HUTSON

   CIVIL                                                    CASE NAME
  ACTION
  NUMBER

   14-cv-07771   BAKER, Sarah J. vs. Boston Scientific Corporation


   15-cv-04991   DAWKINS, Shirley vs. Boston Scientific Corporation

   15-cv-07010   FELCH, Joan P. vs. Boston Scientific Corporation

   15-cv-04535   JENKINS, Vera and Colin Jenkins vs. Boston Scientific Corporation
   14-cv-06664   MATZ, Terri J. and Joe Matz vs. Boston Scientific Corporation
   13-cv-31934   MURRAY, Susan A. vs. Boston Scientific Corporation

   14-cv-02051   SHABERLY, Cheryl A. vs. Boston Scientific Corporation




8231457 v1
    Case Case WVS/2:13-cv-20211
         2:12-md-02326           Document
                       Document 4184 Filed108/10/17
                                               Filed 08/11/17
                                                      Page 1 of 3Page 7 of #:
                                                                  PageID   2226669




                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                      CHARLESTON DIVISION

IN RE: BOSTON SCIENTIFIC CORPORATION
       PELVIC SUPPORT SYSTEMS
       PRODUCTS LIABILITY LITIGATION

                                                                  MDL 2326
_____________________________________________________________________________

THIS DOCUMENT RELATES TO THE
CASES IN EXHIBIT A ATTACHED HERETO

                                   INACTIVE DOCKET ORDER

          The Court has been advised by counsel that in the case listed on the attached Exhibit A,

the plaintiffs and Boston Scientific Corporation1 ("BSC") have agreed to a settlement model with

regard to BSC. The Court, therefore, finds it unnecessary to conduct further proceedings or to

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1
    Boston Scientific Corporation includes any incorrect or incomplete spellings of this Defendant,
         including Boston Scientific Corp.


8231457 v1
 Case Case WVS/2:13-cv-20211
      2:12-md-02326           Document
                    Document 4184 Filed108/10/17
                                            Filed 08/11/17
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                                                               PageID   2226670




The Court will reinstate any case on the attached Exhibit A to the active docket if one of the

parties, on motion, shows good cause for such reinstatement. Good cause includes, but is not

limited to, a plaintiffs’ refusal or inability to consummate settlement. Such motion must be

accompanied by an affidavit from plaintiffs explaining such refusal or inability.

        The Court DIRECTS the Clerk to file a copy of this order in MDL No. 2326 and in the

individual case listed on the attached Exhibit A. The Clerk further DIRECTED to link this

                                                               4164
Order to the Proposed Inactive Docket Order filed at ECF No. ________, and send a copy of this

Order to counsel of record and any represented party. The Clerk is further DIRECTED to send

a copy of this Order to counsel of record and any unrepresented party.



                                                     ____________________________________
                                                     JOSEPH R. GOODWIN
                                                     UNITED STATES DISTRICT COURT




8231457 v1
 Case Case WVS/2:13-cv-20211
      2:12-md-02326           Document
                    Document 4184 Filed108/10/17
                                            Filed 08/11/17
                                                   Page 3 of 3Page 9 of #:
                                                               PageID   2226671




                                                 EXHIBIT A

                                   WAGSTAFF & CARTMELL

   CIVIL                                                     CASE NAME
  ACTION
  NUMBER

   16-cv-01334   BADY, Sharon vs. Boston Scientific Corporation


   15-cv-15407   DECKER, Wanda vs. Boston Scientific Corporation

   16-cv-02062   GALLINGER, Laura vs. Boston Scientific Corporation

   14-cv-19507   HARRIS, Sheila vs. Boston Scientific Corporation
   16-cv-01407   JACKSON, Angela vs. Boston Scientific Corporation
   16-cv-05407   LOWERY, Dawn vs. Boston Scientific Corporation

   15-cv-08215   MCDANIEL, Cheri vs. Boston Scientific Corporation
   13-cv-20795   MILANO, Cathy vs. Boston Scientific Corporation

   12-cv-09329   MORTON, Vijaya and Edward Morton vs. Boston Scientific Corporation

   14-cv-15165   SMITH, Amanda and Leon Smith vs. Boston Scientific Corporation

   13-cv-25341   SMITH, Flossie and Melvin Smith, Sr. vs. Boston Scientific Corporation

   13-cv-15973   WEBB, Francies vs. Boston Scientific Corporation




8231457 v1
    CaseCase WVS/2:13-cv-20211
        2:12-md-02326           Document
                       Document 4183 Filed108/10/17
                                              Filed 08/11/17
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                                                                3 PageID     26666



                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                      CHARLESTON DIVISION

IN RE: BOSTON SCIENTIFIC CORPORATION
       PELVIC SUPPORT SYSTEMS
       PRODUCTS LIABILITY LITIGATION

                                                                  MDL 2326
_____________________________________________________________________________

THIS DOCUMENT RELATES TO THE
CASES IN EXHIBIT A ATTACHED HERETO

                                   INACTIVE DOCKET ORDER

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1
    Boston Scientific Corporation includes any incorrect or incomplete spellings of this Defendant,
         including Boston Scientific Corp.


8231457 v1
 CaseCase WVS/2:13-cv-20211
     2:12-md-02326           Document
                    Document 4183 Filed108/10/17
                                           Filed 08/11/17
                                                   Page 2 of Page 11 of#:22
                                                             3 PageID     26667



The Court will reinstate any case on the attached Exhibit A to the active docket if one of the

parties, on motion, shows good cause for such reinstatement. Good cause includes, but is not

limited to, a plaintiffs’ refusal or inability to consummate settlement. Such motion must be

accompanied by an affidavit from plaintiffs explaining such refusal or inability.

        The Court DIRECTS the Clerk to file a copy of this order in MDL No. 2326 and in the

individual case listed on the attached Exhibit A. The Clerk further DIRECTED to link this

                                                               4163
Order to the Proposed Inactive Docket Order filed at ECF No. ________, and send a copy of this

Order to counsel of record and any represented party. The Clerk is further DIRECTED to send

a copy of this Order to counsel of record and any unrepresented party.



                                                     ____________________________________
                                                     JOSEPH R. GOODWIN
                                                     UNITED STATES DISTRICT COURT




8231457 v1
 CaseCase WVS/2:13-cv-20211
     2:12-md-02326           Document
                    Document 4183 Filed108/10/17
                                           Filed 08/11/17
                                                   Page 3 of Page 12 of#:22
                                                             3 PageID     26668



                                                EXHIBIT A

                                            KELL LAMPIN

   CIVIL                                                   CASE NAME
  ACTION
  NUMBER

   14-cv-16440   ATWELL, Dawn and Robert vs. Boston Scientific Corporation


   14-cv-03324   BURNETT, Margie vs. Boston Scientific Corporation

   12-cv-09127   FLACK, Margaret and Grover Flack vs. Boston Scientific Corporation

   12-cv-09642   FRENCH, Teresa vs. Boston Scientific Corporation
   14-cv-15022   GONZALEZ, Dawn vs. Boston Scientific Corporation
   14-cv-10524   KERNITSKY, Elizabeth vs. Boston Scientific Corporation

   14-cv-12179   MASON, Teresa and John Mason vs. Boston Scientific Corporation
   14-cv-11993   WALLS, Tammy J. vs. Boston Scientific Corporationq

   14-cv-09471   WASHAM, Rebecca and Richard Washam vs. Boston Scientific Corporation




8231457 v1
    CaseCase WVS/2:13-cv-20211
        2:12-md-02326           Document
                       Document 4187 Filed108/10/17
                                              Filed 08/11/17
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                                                                3 PageID     26678



                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                      CHARLESTON DIVISION

IN RE: BOSTON SCIENTIFIC CORPORATION
       PELVIC SUPPORT SYSTEMS
       PRODUCTS LIABILITY LITIGATION

                                                                  MDL 2326
_____________________________________________________________________________

THIS DOCUMENT RELATES TO THE
CASES IN EXHIBIT A ATTACHED HERETO

                                   INACTIVE DOCKET ORDER

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the plaintiffs and Boston Scientific Corporation1 ("BSC") have agreed to a settlement model with

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keep the case on the active docket. Accordingly, the Court ORDERS as follows:

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progress in dismissing the case on the inactive docket. The Court is aware that counsel have

agreed to a settlement model for a group of cases and claims, including the case on Exhibit A.
1
    Boston Scientific Corporation includes any incorrect or incomplete spellings of this Defendant,
         including Boston Scientific Corp.


8231457 v1
 CaseCase WVS/2:13-cv-20211
     2:12-md-02326           Document
                    Document 4187 Filed108/10/17
                                           Filed 08/11/17
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                                                             3 PageID     26679



The Court will reinstate any case on the attached Exhibit A to the active docket if one of the

parties, on motion, shows good cause for such reinstatement. Good cause includes, but is not

limited to, a plaintiffs’ refusal or inability to consummate settlement. Such motion must be

accompanied by an affidavit from plaintiffs explaining such refusal or inability.

        The Court DIRECTS the Clerk to file a copy of this order in MDL No. 2326 and in the

individual case listed on the attached Exhibit A. The Clerk further DIRECTED to link this

                                                               4161
Order to the Proposed Inactive Docket Order filed at ECF No. ________, and send a copy of this

Order to counsel of record and any represented party. The Clerk is further DIRECTED to send

a copy of this Order to counsel of record and any unrepresented party.



                                                     ____________________________________
                                                     JOSEPH R. GOODWIN
                                                     UNITED STATES DISTRICT COURT




8231457 v1
 CaseCase WVS/2:13-cv-20211
     2:12-md-02326           Document
                    Document 4187 Filed108/10/17
                                           Filed 08/11/17
                                                   Page 3 of Page 15 of#:22
                                                             3 PageID     26680



                                                 EXHIBIT A

                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
                            THE MOODY LAW FIRM
                     SUGARMAN ROGERS BARSHAK & COHEN

   CIVIL                                                    CASE NAME
  ACTION
  NUMBER

   12-cv-01396     BROWN, Sandra and Gary Brown vs. Boston Scientific Corporation (d/b/a Mansfield Scientific, Inc. &
                   Microvasive, Inc.)




8231457 v1
    CaseCase WVS/2:13-cv-20211
        2:12-md-02326           Document
                       Document 4182 Filed108/10/17
                                              Filed 08/11/17
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                                                                3 PageID     26663



                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                      CHARLESTON DIVISION

IN RE: BOSTON SCIENTIFIC CORPORATION
       PELVIC SUPPORT SYSTEMS
       PRODUCTS LIABILITY LITIGATION

                                                                  MDL 2326
_____________________________________________________________________________

THIS DOCUMENT RELATES TO THE
CASES IN EXHIBIT A ATTACHED HERETO

                                   INACTIVE DOCKET ORDER

          The Court has been advised by counsel that in the case listed on the attached Exhibit A,

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progress in dismissing the case on the inactive docket. The Court is aware that counsel have

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1
    Boston Scientific Corporation includes any incorrect or incomplete spellings of this Defendant,
         including Boston Scientific Corp.


8231457 v1
 CaseCase WVS/2:13-cv-20211
     2:12-md-02326           Document
                    Document 4182 Filed108/10/17
                                           Filed 08/11/17
                                                   Page 2 of Page 17 of#:22
                                                             3 PageID     26664



The Court will reinstate any case on the attached Exhibit A to the active docket if one of the

parties, on motion, shows good cause for such reinstatement. Good cause includes, but is not

limited to, a plaintiffs’ refusal or inability to consummate settlement. Such motion must be

accompanied by an affidavit from plaintiffs explaining such refusal or inability.

        The Court DIRECTS the Clerk to file a copy of this order in MDL No. 2326 and in the

individual case listed on the attached Exhibit A. The Clerk further DIRECTED to link this

                                                              4160
Order to the Proposed Inactive Docket Order filed at ECF No. ________, and send a copy of this

Order to counsel of record and any represented party. The Clerk is further DIRECTED to send

a copy of this Order to counsel of record and any unrepresented party.



                                                     ____________________________________
                                                     JOSEPH R. GOODWIN
                                                     UNITED STATES DISTRICT COURT




8231457 v1
 CaseCase WVS/2:13-cv-20211
     2:12-md-02326           Document
                    Document 4182 Filed108/10/17
                                           Filed 08/11/17
                                                   Page 3 of Page 18 of#:22
                                                             3 PageID     26665



                                           EXHIBIT A

                ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVIS
                           THE MOODY LAW FIRM

   CIVIL                                            CASE NAME
  ACTION
  NUMBER

  14-cv-18996     DIMERA-SWEENEY, Marylou and Timothy Sweeney vs. Boston Scientific
                  Corporation
  13-cv-07056     FEENSTRA, Janice and George Feenstra vs. Boston Scientific Corporation

  13-cv-19312     HANE, Elizabeth and Dan Hane vs. Boston Scientific Corporation
  13-cv-19280     HARBESON, Joeda vs. Boston Scientific Corporation
  13-cv-15623     MARINELLI, Nancy vs. Boston Scientific Corporation

  13-cv-19316     MCELROY, Brenda and William McElroy vs. Boston Scientific Corporation

  13-cv-07052     PIRIE, Debra vs. Boston Scientific Corporation

  12-cv-08501     PITTMAN, Carol and John Pittman vs. Boston Scientific Corporation

  13-cv-04782     RICHARD, Judith A. and John Richard vs. Boston Scientific Corporation

  12-cv-08505     SCHREMPP, Claudia and Gary Schrempp vs. Boston Scientific Corporation

  13-cv-01006     SHAFFER, Dorothy vs. Boston Scientific Corporation




8231457 v1
    CaseCase WVS/2:13-cv-20211
        2:12-md-02326           Document
                       Document 4180 Filed108/10/17
                                              Filed 08/11/17
                                                      Page 1 of Page 19 of#:22
                                                                4 PageID     26656



                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                      CHARLESTON DIVISION

IN RE: BOSTON SCIENTIFIC CORPORATION
       PELVIC SUPPORT SYSTEMS
       PRODUCTS LIABILITY LITIGATION

                                                                                       MDL 2326


THIS DOCUMENT RELATES TO THE
CASES IN EXHIBIT A ATTACHED HERETO

                                   INACTIVE DOCKET ORDER

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         including Boston Scientific Corp.
 CaseCase WVS/2:13-cv-20211
     2:12-md-02326           Document
                    Document 4180 Filed108/10/17
                                           Filed 08/11/17
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                                                             4 PageID     26657



The Court will reinstate any case on the attached Exhibit A to the active docket if one of the

parties, on motion, shows good cause for such reinstatement. Good cause includes, but is not

limited to, a plaintiffs’ refusal or inability to consummate settlement. Such motion must be

accompanied by an affidavit from plaintiffs explaining such refusal or inability.

       The Court DIRECTS the Clerk to file a copy of this order in MDL No. 2326 and in the

individual cases listed on the attached Exhibit A. The Clerk further DIRECTED to link this

Order to the Proposed Inactive Docket Order filed at ECF No. 3920         , and send a copy of this

Order to counsel of record and any represented party. The Clerk is further DIRECTED to send

a copy of this Order to counsel of record and any unrepresented party.




                                                     JOSEPH R. GOODWIN
                                                     UNITED STATES DISTRICT COURT
CaseCase WVS/2:13-cv-20211
    2:12-md-02326           Document
                   Document 4180 Filed108/10/17
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                                                            4 PageID     26658



                                              EXHIBIT A

                                 MCDONALD WORLEY, P.C.

  CIVIL                                                   CASE NAME
 ACTION
 NUMBER

 13-cv-20207   HUEY, Erin vs. Boston Scientific Corporation




 13-cv-20209   VALENCIA, Victoria, et al vs. Boston Scientific Corporation




 13-cv-20210   CORDOVA, Nerandra, et al vs. Boston Scientific Corporation




 13-cv-20211   POWERS, Vicki, et al vs. Boston Scientific Corporation




 14-cv-18503   FARMER, Kay vs. Boston Scientific Corporation




 14-cv-29216   JOINER, Betty vs. Boston Scientific Corporation




 14-cv-29311   KIRKLAND, Atiya vs. Boston Scientific Corporation




 14-cv-29312   FREEMAN, Paula vs. Boston Scientific Corporation




 14-cv-29315   FRONCE, Joni vs. Boston Scientific Corporation




 14-cv-29317   KRUEGER, Kathy vs. Boston Scientific Corporation




 14-cv-29319   STOKES, Sara vs. Boston Scientific Corporation




 14-cv-29323   ROONEY, Joella vs. Boston Scientific Corporation




 14-cv-29324   KIPKA, Eileen vs. Boston Scientific Corporation
CaseCase WVS/2:13-cv-20211
    2:12-md-02326           Document
                   Document 4180 Filed108/10/17
                                          Filed 08/11/17
                                                  Page 4 of Page 22 of#:22
                                                            4 PageID     26659
 14-cv-29325   FISCHER, Cathleen vs. Boston Scientific Corporation




 14-cv-29327   COFFEE, Linda vs. Boston Scientific Corporation




 14-cv-29328   MARTONE, Sandra vs. Boston Scientific Corporation




 14-cv-29330   PLANTE, Doris vs. Boston Scientific Corporation




 14-cv-29331   HICKS, Kimberly vs. Boston Scientific Corporation




 14-cv-29333   MURPHY, Sandy vs. Boston Scientific Corporation




 14-cv-29335   RAINES, Hazel vs. Boston Scientific Corporation




 14-cv-30059   DAVIS, Lillian vs. Boston Scientific Corporation




 14-cv-30060   COMULADA, Elsa vs. Boston Scientific Corporation




 14-cv-30061   SPEARS, Teresa vs. Boston Scientific Corporation




 15-cv-01894   SIMPSON, Vicki vs. Boston Scientific Corporation




 15-cv-02434   MOHRBACHER, Rosemary vs. Boston Scientific Corporation




 15-cv-05241   ABNEY, Barbara vs. Boston Scientific Corporation




 15-cv-08995   TAYLOR, Kathleen M. vs. Boston Scientific Corporation




 15-cv-14827   HOPSON, Betty, et al vs. Boston Scientific Corporation
